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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK

      KALESHA NILES and JASON LAHEY, on
      behalf of themselves, the general public, and      No.: 19-cv-01902-SJF-ARL
      those similarly situated,

                        Plaintiffs,
      and

      NICOLE LOCKHART, BOBBI O’SULLIVAN,
      and ALEXIS JADE HUNTER, on behalf of               No.: 19-cv-05345-SJF-ARL
      themselves, the general public, and those
      similarly situated,

                        Plaintiffs,

             v.

      ARIZONA BEVERAGES USA LLC,
      BEVERAGE MARKETING USA, INC., and
      HORNELL BREWING CO., INC,

                        Defendants.


      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE
      AMENDED COMPLAINT AND TO STRIKE NATIONWIDE CLASS CLAIMS


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  I.      INTRODUCTION

          As explained in Plaintiffs’ amended complaint, Defendants have been misleading, and

  continue to mislead, millions of consumers into believing that Defendants’ most popular iced

  tea beverage has ginseng in it, when it does not. In yet another attempt to avoid this litigation

  and any discovery, Defendants have thrown numerous arguments against the wall in the hope

  that something will stick. Almost all of their arguments are meritless or improper, and the ones

  left over are incorrect.

          First, Defendants suggest that Plaintiffs’ claims are preempted because they do not
  allege specific testing procedures and results. But Defendants rely on regulations for dietary

  supplements, which are irrelevant to this case. Defendants also mischaracterize the regulations

  for testing “nutrient content claims,” which, again, do not apply. And even if such specific

  testing were ultimately required, that would be a matter of proof, not a pleading requirement.

          Defendants’ attempt to incorporate the same argument under Rule 9(b) also falls flat.

  Rule 9(b) does not require extensive allegations regarding testing procedures and results; it

  simply requires Plaintiffs to describe the who, what, where, when, and how of the alleged

  misconduct. Plaintiffs have provided sufficient detail to do so and to allow Defendants to defend

  against the claims. Nothing more is required.

          Next, Defendants argue that the Court already ruled that Plaintiffs lack standing for

  injunctive relief. However, the amended complaint contains additional allegations that plausibly

  allege imminent harm absent injunctive relief.

          Defendants then become completely flustered in their attempt to avoid an embarrassing

  admission. In the amended complaint, Plaintiffs identify a key disclosure they discovered on

  Defendants’ website: that the product at issue contains “Siberian Ginseng,” which is not actual

  ginseng but an entirely different plant. In response, Defendants try to excise this admission from

  the case, complaining that Plaintiffs have not alleged they relied on that representation. That

  argument misses the point entirely. Plaintiffs do not allege that they were misled by the website



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  disclosure but by the label that prominently states “With Ginseng.” The website representation

  simply confirms that Defendants’ product labels are deceptive and unlawful because the product

  does not contain real ginseng. Defendants further argue that the letters Plaintiffs sent, which

  notified Defendants that the ginseng representations on the product labels were false, somehow

  defeat Plaintiffs’ claims, supposedly because Plaintiffs failed, in those letters, to notify

  Defendants of their own website admission. That argument makes no sense. Consumers are not

  required to identify every piece of evidence that supports their claims before filing suit.

         Defendants similarly argue that Plaintiffs’ claim for breach of warranty should be
  dismissed based on a failure to provide pre-suit notice, but that argument fails both because

  notice was not required and because the California Plaintiffs provided adequate notice.

         Finally, Defendants move to strike Plaintiffs class allegations. This aspect of Defendants’

  motion is procedurally improper under Rule 12(g) because it was not included in Defendants’

  original Rule 12 motion. It is also premature, as the weight of authority clearly holds that class

  issues should be determined after discovery.

         Accordingly, Plaintiffs request that the Court deny Defendants’ motions in full.

  II.    STATEMENT OF FACTS

         Defendants are among the world’s largest producers of canned and bottled beverages.

  Am. Compl., ¶ 3. Their flagship product is an iced tea beverage called “Green Tea with Ginseng
  and Honey” (“Product”), which prominently states “With Ginseng” in large font on the front

  labels and which Defendants further advertise as containing “Ginseng for Energy.” Id. ¶¶ 4-7,

  35-42. Defendants know that consumers are increasingly health-conscious and seek out

  beverages that provide some sort of health benefit, and they also know that ginseng’s benefits as

  an energy booster are well-publicized. Id. ¶ 7, 33.

         Defendants’ marketing, however, is a lie, as the Product does not in fact contain any

  actual ginseng and, at minimum, not enough ginseng to provide energy. Id. ¶¶ 43-54. In fact,

  Defendants’ website states that the Product is made with “Siberian Ginseng,” which is not real




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   ginseng. Id. ¶ 48. In addition, two respected food laboratories were unable to find any evidence

   of ginsenosides—the main chemical constituent of ginseng—in the product. Id. ¶¶ 56-59.

          Plaintiffs were misled by Defendants’ false advertising. Id. ¶¶ 78-87. All of them would

   have paid less, or not purchased the product at all, had they known the truth. Id.

          Plaintiffs Niles and Lahey filed this action in the Eastern District of New York in April

   2019, seeking to represent a nationwide class of purchasers (except for purchasers in

   California), and Plaintiffs Lockhart, O’Sullivan, and Hunter filed an action with almost identical

   allegations in California, seeking to represent a California class of purchasers. The California
   action was transferred to this Court and consolidated with this action. See Dkt. No. 28.

   Defendants moved to dismiss the original complaint in this action, but did not seek to strike the

   class allegations. Dkt. No. 21. The Court granted Defendants’ motion to dismiss in part and

   denied it in part. Dkt. No. 31.

          On July 31, 2020, Plaintiffs filed a Consolidated Amended Class Action Complaint. Dkt.

   No. 35. Plaintiffs allege three causes of action on behalf of all Plaintiffs and a nationwide class

   (for common law fraud, deceit and/or misrepresentation; negligent misrepresentation; and

   violations of statewide consumer protection statutes), and two additional causes of action on

   behalf of California Plaintiffs (for restitution and breach of warranty).

   III.   DEFENDANTS’ MOTION TO DISMISS SHOULD BE DENIED.
          To survive a motion to dismiss, a complaint need only plead “enough facts to state a

   claim [for] relief that is plausible on its face.” Bell Atlantic. Corp. v. Twombly, 550 U.S. 544, 570

   (2007). A claim is plausible when it “allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In

   evaluating a complaint for plausibility, “the court must presume all factual allegations are true

   and draw all reasonable inferences in favor of Plaintiff.” Theranos, Inc. v. Fuisz Pharma LLC,

   876 F. Supp. 2d 1123, 1136 (N.D. Cal. 2012) (citing Twombly, 550 U.S. at 570; Iqbal, 556 U.S.

   at 678); Charles v. Orange Cty., 925 F.3d 73, 81 (2d Cir. 2019) (“[W]e accept as true all factual

   allegations in the Complaint and draw all reasonable inferences in Plaintiffs’ favor.”).


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           A.      Plaintiffs’ Allegations Do Not Conflict With Federal Law and Thus Are Not
                   Preempted.

           Plaintiffs allege that Defendants misled reasonable consumers about (1) whether the

   Product contains ginseng and (2) whether the Product contains a sufficient amount of ginseng to

   provide energy to those who drink it. Neither of these claims requires Plaintiffs to allege that

   they used a 12-sample method to test for ginseng before filing the Amended Complaint.

                   1.    Defendants Must Overcome the Strong Presumption Against
                         Preemption.

           State consumer protection laws, which are within the states’ historic police powers, are

   subject to a strong presumption against preemption, so Congress’ intent to preempt state law

   must be “clear and manifest.” Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996); California v.

   ARC America Corp., 490 U.S. 93, 101 (1989). In addition, because preemption is an affirmative

   defense, the party asserting it bears the burden of proof. See Bruesewitz v. Wyeth LLC, 562 U.S.

   223, 251 n.2 (2011) (burden of proof); In re Methyl Tertiary Butyl Ether Prods. Liab. Litig., 725

   F.3d 65, 96 (2d Cir. 2013).

           The federal food labeling statutes (“FDCA” or “NLEA”) do not preempt state law with

   respect to the NLEA’s broadest provision, 21 U.S.C. § 343(a)(1) (providing that a food product

   is misbranded if its “labeling is false or misleading in any particular”). See Parks v. Ainsworth

   Pet Nutrition, LLC, 377 F. Supp. 3d 241, 245 (S.D.N.Y. 2019) (explaining that the NLEA’s

   preemption provision does not apply to Section 343(a)). Accordingly, it is well established that

   a plaintiff may sue under state law if a label is misleading because state law is co-extensive with

   Section 343(a). See id. at 246 (“Plaintiff’s state law claims that the labeling of the Products was

   false and misleading are not preempted.”)1

   1
    See also Silva v. Smucker Nat. Foods, Inc., No. 14-CV-6154 (JG)(RML), 2015 U.S. Dist. LEXIS
   122186, at *11 (E.D.N.Y. Sep. 14, 2015) (explaining that compliance with certain FDA rules regarding
   certain ingredients “does not give a seller free rein to deceptively mischaracterize those ingredients on
   other parts of its label in contravention of state law”); Becerra v. Dr Pepper/Seven Up, Inc., No. 17-cv-
   05921-WHO, 2018 U.S. Dist. LEXIS 54937, at *11-12 (N.D. Cal. Mar. 30, 2018) (“Section 343-1 does
   not address Section 343(a). Even if it did, the state laws under which plaintiff brings suit—California's
   UCL, FAL, CLRA, and Sherman Law—impose identical requirements to Section 343(a) in that they also


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                  2.    Defendants’ Preemption Arguments Are Misguided.

          Defendants’ preemption arguments rest on two false premises: (1) that the 12-sample

   testing regulation of 21 C.F.R. § 101.9(g) applies to the statement “with Ginseng” on the front of

   the label and the statement “Ginseng for energy” on the back of the label; and (2) that failing to

   specifically describe testing in accordance with the 12-sample method in the complaint requires

   dismissal based on preemption principles.

                        a.    The 12-Sample Test of Section 101.9 Does Not Apply to Plaintiffs’
                              Claims.

          As an initial matter, Defendants misconstrue the regulations at issue to create the

   impression that the 12-sample method regulation applies to Plaintiffs’ claims. It does not.

          The FDA regulations at issue distinguish between two different types of food products:

   (1) conventional foods and (2) dietary supplements. The Product here is a conventional food.

          Conventional foods must include a “Nutrition Facts” panel on their labels, identifying the

   serving size, the calories per serving, and the amounts (per serving) of the following nutrients:

   total fat, saturated fat, cholesterol, sodium, total carbohydrates, complex carbohydrates, sugars,

   dietary fiber, total protein, and any vitamin, mineral, or other nutrient the FDA requires to be

   placed on the label. 21 C.F.R. § 101.9(b)-(c); see also 21 USCS §§ 343(q)(1)(D)-(E), and

   343(q)(2)(A). The FDA regulations include multiple sample images of Nutrition Facts labels,




   prohibit false and misleading advertising.”); Izquierdo v. Mondelez Int'l, Inc., No. 16-cv-04697 (CM),
   2016 U.S. Dist. LEXIS 149795, at *10-11 (S.D.N.Y. Oct. 26, 2016) (concluding that state-law claims
   were not preempted because “New York law expressly incorporates the standard imposed by the FDCA”
   such that “anything that complies with federal law and regulations per se complies with state law”).


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   one of which is set forth below, showing that only the nutrients expressly identified in Section

   101.9(c) are included in this specialized label.




   21 C.F.R. § 101.9(d)(12), available at https://www.ecfr.gov/cgi-bin/text-

   idx?SID=03d21060be6cbea25467541eb2268c46&mc=true&node=se21.2.101_19&rgn=

   div8 (last visited September 18, 2020).

           The FDA requires the use of a certain 12-sample testing procedure to determine

   compliance with the requirements of Section 101.9 but only with respect to the nutrients and

   facts covered by that section. See 21 C.F.R. § 101.9(g) (“Compliance with this section shall be
   determined as follows: . . .”) (emphasis added);2 21 CFR § 101.9(g)(4)-(6) (specifying standards

   for determining whether declarations on food labels regarding the levels of vitamins, minerals,


   2
     The many subparts of Section 101.9 refer repeatedly to “this section,” referring only to Section 101.9.
   See, e.g., 21 C.F.R. § 101.9(a)(1) (“When food is in package form, the required nutrition labeling
   information shall appear on the label in the format specified in this section.”); 21 C.F.R. § 101.9(b)(8)
   (“Determination of the number of servings per container shall be based on the serving size of the product
   determined by following the procedures described in this section.”); 21 C.F.R. § 101.9(c) (“Except as
   provided for in paragraphs (f) or (j) of this section, nutrient information shall be presented using the
   nutrient names specified and in the following order in the formats specified in paragraphs (d) or (e) of
   this section.”); 21 C.F.R. § 101.9(d)(1) (“Nutrient information specified in paragraph (c) of this section
   shall be presented on foods in the following format, as shown in paragraph (d)(12) of this section, . . .”);
   21 C.F.R. § 101.9(g) (“Compliance with this section shall be determined as follows: . . .”) (emphases
   added).



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   protein, total carbohydrates, dietary fiber, soluble fiber, insoluble fiber, polyunsaturated or

   monounsaturated fat, calories, total sugars, added sugars, total fat, saturated fat, trans fat,

   cholesterol, and sodium are in compliance with the regulation).3

           Ginseng is neither required nor permitted to be included in the Nutrition Facts panel. See

   21 C.F.R. § 101.9(c) (“No nutrients or food components other than those listed in this paragraph

   as either mandatory or voluntary may be included within the nutrition label.”).4 Accordingly, by

   the express terms of section 101.9, representations regarding the amount of ginseng in a food are

   not subject to section 101.9 or the 12-sample testing method for determining compliance with

   that section.

           Dietary supplements, on the other hand, are governed by a separate regulation (section

   101.36) that requires a more inclusive “Supplement Facts” panel on the labels of supplements,

   which, unlike the “Nutrition Facts” label for conventional foods, includes “[d]ietary ingredients

   for which FDA has not established RDI’s or DRV’s,” including ginseng. See 21 C.F.R.

   § 101.36(b)(3) and (e)(11); see also 21 C.F.R. § 101.36(d) (explicitly including ginseng as an

   example). For purposes of determining whether the label complies with the requirements of

   101.36, section 101.36 incorporates (with a modification) the 12-sample methodology set forth



   3
    Accordingly, the methodology set forth in Section 101.9(g) for determining “[c]ompliance with this
   section,” applies only to the information in the Nutrition Facts label and not to: (a) the general
   misbranding prohibitions of 21 U.S.C. § 343(a)(1); (b) the specific misbranding provisions concerning
   ginseng (21 U.S.C. § 321d(b)(1)(A) and 21 U.S.C. § 343(u)); or (c) the listing of ingredients required by
   21 C.F.R. § 101.4(a)(1).
   4
     Section 101.9(c)(8) sets forth certain vitamins and minerals to be included in the Nutrition Facts label
   and the reference daily intake levels for those nutrients. Ginseng is not a vitamin or mineral and is not
   included in the list.
   Also, an entirely separate regulation requires Defendants to identify the ingredients of the Product. See 21
   C.F.R. § 101.4(a)(1) (“Ingredients . . . shall be listed by common or usual name in descending order of
   predominance by weight . . . .”). But that regulation does not support Defendant’s motion either, for at
   least three reasons. First, that regulation does not require any particular testing method for determining
   compliance. Second, Plaintiffs’ claims concern prominent statements on the label, outside of the list of
   ingredients in small print, and thus are independent of any specific violations of Section 101.4(a)(1).
   Third, statements regarding ingredients are expressly excluded from the scope of 101.9 and 101.13 as set
   forth above.



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   in section 101.9(g). See 21 C.F.R. § 101.36(f)(1). Accordingly, the 12-sample test could be

   required for representations regarding ginseng on a dietary supplement label.

          To prevent sellers from undermining the purpose of the Nutrition Facts and Supplement

   Facts labeling requirements by making contradictory, false, or confusing representations

   regarding that information outside of those specialized panels, the FDA also strictly regulates

   representations concerning those facts that could appear elsewhere on the label. Such

   representations are known as “nutrient content claims.” See 21 C.F.R. § 101.13(b) (“A claim that

   expressly or implicitly characterizes the level of a nutrient of the type required to be in
   nutrition labeling under § 101.9 or under § 101.36 (that is, a nutrient content claim) may not

   be made on the label or in labeling of foods unless the claim is made in accordance with this

   regulation and with the applicable regulations in subpart D of this part or in part 105 or part 107

   of this chapter.”) (emphasis added); see also 21 U.S.C. § 343(r). The FDA further specifies the

   types of nutrient content claims that may be placed outside the Nutrition Facts panel and the

   Supplement Facts panel. See 21 C.F.R. §§ 101.54-101.67 (identifying the words that may be

   used to characterize the nutrients covered by Section 101.9(c) and the criteria for making such

   claims). Nutrient content claims are also subject to the 12-sample testing methods applicable to

   the Nutrition Facts and Supplement Facts. See 21 C.F.R. § 101.13(o). However, what qualifies as

   a “nutrient content claim” for a conventional food is determined by reference to section 101.9
   (the information in the Nutrition Facts); while what qualifies as a “nutrient content claim” on a

   dietary supplement label is determined by reference to section 101.36 (the information in the

   Supplement Facts).

          The representations at issue in this case (“With Ginseng” and “Ginseng for energy”)

   occur outside the Nutrition Facts panel on the Product labels. Defendants’ primary argument on

   this motion is that those representations are nutrient content claims subject to the 12-sample

   testing requirement. Defendants use two sleights of hands to make this specious argument:

   (1) suggesting the Product is a dietary supplement and (2) using the phrase “nutrient content




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   claim” loosely, untethered to the specific, limited provisions of 21 C.F.R. §§ 101.13(b) and

   101.54-101.67.

                              (1)   The Product Is Not a Dietary Supplement.

          Defendants repeatedly refer to “dietary supplements” and certain regulations concerning

   dietary supplements in their motion, apparently trying to mislead the Court into believing that the

   Product is a dietary supplement under federal law. See Defs.’ Mem. at 9-10 (stating that “21

   § C.F.R. 101.4(h) regulates the names of dietary supplements;” that FDA regulations alone

   “establish the standards for nutrition labeling of dietary supplements;” and that 21 C.F.R.

   § 101.36 “regulates dietary supplements and provides that compliance with this section will be

   determined in accordance with [the 12-sample methodology]”).

          But the Product at issue is a beverage (a type of food), not a dietary supplement. See 21

   U.S.C. §§ 321(ff)(2)(B) (defining the term “dietary supplement” as a product that, among other

   requirements, “is not represented for use as a conventional food or as a sole item of a meal or the

   diet”); Food Labeling; Requirements for Nutrient Content Claims, Health Claims, and

   Statements of Nutritional Support for Dietary Supplements, 62 Fed. Reg. 49859, 49862 (Sept. 23,

   1997) (“To be a dietary supplement, a product must bear the term ‘dietary supplement’ as part of

   its common or usual name. . . . All other food products, that is, those that are not identified as

   dietary supplements, will be subject to regulation as conventional foods.”); Ackerman v. Coca-

   Cola Co., 2010 U.S. Dist. LEXIS 73156, *9, 2010 WL 2925955 (E.D.N.Y. July 21, 2010) (“[I]t

   is quite clear that vitaminwater is in fact a food rather than a dietary supplement.”); see also

   Guidance for Industry: Distinguishing Liquid Dietary Supplements from Beverages (January

   2014) (“Beverages are conventional foods under the [FDCA].”), available at

   https://www.fda.gov/regulatory-information/search-fda-guidance-documents/guidance-industry-

   distinguishing-liquid-dietary-supplements-beverages (last visited September 18, 2020).

          Both ginseng and eleuthero can be sold as a dietary supplements (for example in bottles

   with capsules containing hundreds of milligrams of the supplement), but such supplements are




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   not what is at issue in this case. Defendants sell cold tea beverages, not dietary supplements. Not

   only do Plaintiffs clearly allege that the Product at issue is a beverage and labeled and marketed

   as such, see Am. Compl. (Dkt. No. 35) ¶¶ 32-37, but Defendants have not submitted, and cannot

   submit, any evidence that it is a dietary supplement. To the contrary, Defendants are well aware

   that the Product at issue is not a dietary supplement under federal law, and that Section 101.36

   does not apply to the Product, as Defendants do not include a “Supplemental Facts” box with the

   information required by Section 101.36.

          Ignoring the critical distinction between dietary supplements and conventional foods,
   Defendants suggest that the 12-sample test is generally required for a claim based on the theory

   that an advertised ingredient is not present in a product. See Defs.’ Mem. at 11 (citing Smith v.

   Allmax Nutrition, Inc., Case No. 1:15-cv-00744-SAB, 2015 U.S. Dist. LEXIS 171897, 2015 WL

   9434768, at *7 (E.D. Cal. Dec. 24, 2015)). But Allmax Nutrition concerned a dietary supplement,

   where the ingredients were subject to Section 101.36, and thus fit within the scope of “nutrient

   content claims” for dietary supplements. Defendants cite several other cases that also concern

   dietary supplements, and thus are inapposite.5

          Defendants also rely heavily on Salazar v. Honest Tea, Inc., 74 F. Supp. 3d 1304, 1313

   (E.D. Cal. 2014), in which the court suggested that the 12-sample testing protocol applies to

   claims concerning ingredients other than the nutrients, vitamins, and minerals in the Nutrition

   Facts panel. But that court mistakenly relied on comments in the FDA rule-making process

   related to dietary supplements to conclude that label claims about almost any ingredient in

   conventional foods were “nutrient content claims.” See 74 F. Supp. 3d at 1313. The FDA

   publication cited in both Salazar and Allmax Nutrition actually undermines the applicability of

   those decisions, because it repeatedly distinguishes the rules for dietary supplements from the


   5
    See Jackson-Mau v. Walgreen Co., No. 18-cv-4868 (FB)(VMS), 2019 U.S. Dist. LEXIS 189134
   (E.D.N.Y. Oct. 31, 2019); Doughtery v. Source Naturals, Inc., 148 F. Supp. 3d 831 (E.D. Mo. 2015);
   Parker v. Wal-Mart Stores, Inc., 367 F. Supp. 3d 979 (E.D. Mo. 2019) (following Doughtery); Smith v.
   Allmax Nutrition, Inc., Case No. 1:15-cv-00744-SAB, 2015 U.S. Dist. LEXIS 171897, 2015 WL
   9434768, at *7 (E.D. Cal. Dec. 24, 2015).



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   rules for conventional foods. See 62 Fed. Reg. 49859, 4986 (explaining the provision at issue

   “applies only to claims in the labeling of a dietary supplement” and that it “has no application to

   conventional foods”).

                                (2)   The Representations Are Not Nutrient Content Claims.

           The other cases Defendants cite all involve “nutrient content claims” concerning

   information specifically within the scope of Sections 101.9 and 101.13, not the type of ingredient

   claim at issue here.6 In fact, one of these cases expressly acknowledges the distinction between

   nutrient content claims and other ingredient claims. See Chacanaca v. Quaker Oats Co., 752 F.

   Supp. 2d 1111, 1119-23 (N.D. Cal. 2010) (finding certain nutrient content claims, including “0

   grams trans fat” and “good source” of calcium and fiber, authorized under federal law, but noting

   that “a simple statement of an ingredient need not necessarily count as a nutrient content claim”

   if it does not indicate the level of a nutrient governed by section 101.9).

           The representations at issue in this case (“with Ginseng” and “Ginseng for energy”) are

   not “nutrient content claims” as defined in Section 101.13(b), and in Sections 101.54 through

   101.67, because they do not concern a nutrient whose inclusion in the Nutrition Facts box is

   required under Section 101.9. In fact, Defendants’ ginseng representations are expressly excluded

   from the scope of “implied nutrient content claims.” See 21 C.F.R. § 101.65(b)(3) (providing that

   a claim “about the presence of an ingredient that is perceived to add value to the product” is

   generally not an implied nutrient content claim).7

   6
    See Melendez v. One Brands, LLC, No. 18-CV-06650 (CBA) (SJB), 2020 U.S. Dist. LEXIS 49094
   (E.D.N.Y. Mar. 16, 2020) (sugar per serving); Rubio v. Orgain, Inc., No. EDCV 18-2237-MWF (SHKx),
   2019 U.S. Dist. LEXIS 65214 (C.D. Cal. Mar. 5, 2019) (protein per serving); Baker v. NNW, LLC, No.
   15-00222-CV-W-GAF, 2015 U.S. Dist. LEXIS 184639, at *8 (W.D. Mo. July 8, 2015) (carbohydrates,
   sugar, and protein per serving); Bruaner v. MusclePharm Corp., No. CV 14-8869 FMO (AGRx), 2015
   U.S. Dist. LEXIS 105515 (C.D. Cal. Aug. 11, 2015) (protein per serving); Mee v. I A Nutrit., Inc., No. C-
   14-5006 MMC, 2015 U.S. Dist. LEXIS 63038 (N.D. Cal. May 13, 2015) (protein per serving); In re
   Whole Foods Market, Inc., 163 F. Supp. 3d 385, 394 (W.D. Tex. 2016) (sugar per serving); Burke v.
   Weight Watchers Intern., Inc., 983 F. Supp. 2d 478, 483 (D.N.J. 2013) (calories per serving).
   7
    Ginseng is not associated with a “nutrient benefit” within the scope of Section 101.9, but, even if it
   were, the claim “with ginseng” would still not be an implied nutrient claim if it does not suggest that a
   particular nutrient within Section 101.9 is “present in a certain amount.” See 21 C.F.R. § 101.65(b)(5).



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          In sum, Defendants cannot identify any federal statute or regulation that specifically

   requires Plaintiff to use the 12-sample testing method to support their claims about Defendants’

   misrepresentations. In the absence of any express requirement, preemption does not apply. See

   N.Y. State Rest. Ass’n v. N.Y.C. Bd. of Health, 556 F.3d 114, 123 (2d Cir. 2009) (noting the

   NLEA itself provides that it “shall not be construed to preempt any provision of State law, unless

   such provision is expressly preempted”); Parks v. Ainsworth Pet Nutrition, LLC, 377 F. Supp. 3d

   241, 245, 2019 U.S. Dist. LEXIS 68011, *4 (S.D.N.Y. April 18, 2019) (“Courts have a duty to

   accept the reading that disfavors pre-emption when such a reading is plausible.”) (internal
   quotation marks omitted).

          The viability of claims based on misleading statements on conventional food labels is

   well established in the law, and the issue of 12-sample testing does not come up in such cases

   because it is understood that sections 101.9 and 101.13 do not apply to a prominent

   representation regarding ingredients on the front label, provided the ingredient statement does

   not implicitly make a statement about a nutrient (such as fiber) in the Nutrition Facts. See, e.g.,

   Mantikas v. Kellogg Co., 910 F.3d 633, 637-38 (2d Cir. 2018) (plaintiffs had viable claims based

   on the statement “whole grain” on the label); Webb v. Dr Pepper Snapple Grp., Inc., No. 4:17-

   00624-CV-RK, 2018 U.S. Dist. LEXIS 71270, at *6-14 (W.D. Mo. Apr. 25, 2018) (holding that

   the plaintiff adequately pled claims based on defendants’ alleged deceptive advertising that the
   beverage was “Made from Real Ginger”).

                          b.      Specific Descriptions of 12-Sample Testing Are Not a Pleading
                                  Requirement.

          Even if the 12-sample testing method were ultimately required as a matter of proof in this

   case, Plaintiffs are not required to specifically describe compliance with that methodology in

   their complaint. The Second Circuit has explained that courts should be “mindful of the

   procedural context” in which a preemption inquiry is conducted, and that on a Rule 12(b)(6)

   motion, the district court “is required to accept as true the facts alleged in the complaint, consider




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   those facts in the light most favorable to the plaintiff, and determine whether the complaint sets

   forth a plausible basis for relief.” Galper v. JP Morgan Chase Bank, N.A., 802 F.3d 437, 443 (2d

   Cir. 2015). Here, Plaintiffs allege (1) that Defendants have openly represented that the Product

   does not contain ginseng; and (2) that Plaintiffs have tested the Product and that they have found

   no indication of the presence of ginseng. Those allegations are entirely consistent with their

   ability to establish, using the 12-sample method if necessary, that the Product does not contain

   ginseng and does not contain sufficient ginseng to provide energy to consumers. Thus, Plaintiffs’

   complaint does not present any conflict with any federal regulation.

          As Defendants note, there are some cases holding that a plaintiff must allege compliance

   with the 12-sample testing protocol in cases where that methodology will ultimately apply on the

   merits. See Defs.’ Mem. at 11-14. However, those cases did not apply the proper standard and

   are against the persuasive weight of authority.

          Notably, the Ninth Circuit has called into question the reasoning of the cases Defendants

   cited. See Durnford v. MusclePharm Corp., 907 F.3d 595, 603 n.8 (9th Cir. 2018) (explaining

   that “plaintiffs are generally not expected to provide evidence in support of their claims at the

   pleading stage … nor are they required to plead the ‘probability’ of their entitlement to relief”)

   (internal citations omitted). The court went on to emphasize that a Rule 12(b)(6) dismissal on the

   basis of preemption can only be granted “when the plaintiff pleads itself out of court—that is,

   admits all the ingredients of an impenetrable defense.” Id. (emphasis added). That has not

   happened here. To the contrary, Plaintiffs allege that Defendants have admitted (on their

   website) that there is no ginseng in the Product.

          The only known case within the Second Circuit considering this issue directly rejected

   the argument Defendants present here (i.e., that a plaintiff is required to plead specific

   compliance with the 12-sample test). Instead, the court held that it is sufficient to allege a factual

   basis to support a plausible inference that a product does not contain an advertised ingredient.

   Jackson-Mau v. Walgreen Co., No. 18-cv-4868 (FB), 2019 U.S. Dist. LEXIS 189134, at *3

   (E.D.N.Y. Oct. 31, 2019). Other well-reasoned decisions have held the same. See Gubala v. CVS


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   Pharmacy, Inc., 2016 U.S. Dist. LEXIS 32759, at *25 (N.D. Ill. Mar. 15, 2016) (explaining that

   Salazar and similar decisions appear to have unduly expanded on a case where a court converted

   the defendant’s motion to dismiss to a motion for summary judgment and gave the plaintiffs time

   to conduct discovery); Allmax Nutrition, 2015 U.S. Dist. LEXIS 171897, at *22 (“While the

   Court agrees with Defendant that this is the standard that the FDA holds Defendant to, the Court

   finds that Plaintiffs allegations are sufficient at this point in the proceedings.”); Clay v.

   Cytosport, Inc., 2015 U.S. Dist. LEXIS 110447, at *8 (S.D. Cal. Aug. 19, 2015) (declining to

   require compliance with the 12-unit method; holding the allegations as pled allow the court to
   “plausibly infer that tests conducted in compliance with the 12 Test Methodology would support

   Plaintiff’s allegations that the Product is mislabeled”).

           Similarly, Defendants’ brief argument that Plaintiffs have failed to satisfy Rule 9(b)

   because they have not included actual testing results in the complaint or specified the sizes tested

   (Defs.’ Mem. at 15) has no merit. Defendants do not dispute that Plaintiffs have described the

   misconduct at issue (the who, what, when, where, and how) in detail. Plaintiffs are not required,

   in addition, to plead specific laboratory testing results, or how they are going to prove their case.

   Cf. Schlick v. Penn-Dixie Cement Corp., 507 F.2d 374, 379 (2d Cir. 1974) (noting “a

   complainant is not required to plead evidence”); Pullman v. Alpha Media Publ., Inc., No. 12-CV-

   1924, 2013 U.S. Dist. LEXIS 50697, at *81 (S.D.N.Y. Jan. 11, 2013) (“Rule 9(b) merely

   requires that the Complaint provide[ ] sufficient information for the Defendant[s] to prepare a

   defense as to the particular allegations of fraud.”); Webb v. Dr Pepper Snapple Grp., Inc., No.

   4:17-00624-CV-RK, 2018 U.S. Dist. LEXIS 71270, at *11-14 (W.D. Mo. Apr. 25, 2018)

   (holding plaintiff adequately pled claims based on defendants’ alleged deceptive advertising that

   the beverage was “Made from Real Ginger” and rejecting arguments that more detail regarding

   the testing of the product was required). 8

   8
     Moreover, before and after filing this lawsuit, Defendants refused attempts to provide them with test
   results that demonstrated that the product did not contain ginseng. Six months before filing suit,
   consumers in California sent Defendants two letters that described the results of the testing on which
   Plaintiffs here also rely. Defendants ignored those letters and a subsequent offer to be provided with the


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           Because Plaintiffs have pled plausible claims for relief, which is all that is required at this

   stage, Defendants’ motion should be denied to the extent it is based on Plaintiffs’ failure to

   specifically allege compliance with the 12-sample methodology.

           B.      Plaintiffs Have Standing to Obtain an Injunction.

           The law of the case doctrine should not apply to Defendants’ argument that Plaintiffs

   lack standing to seek an injunction because (1) the allegations in the consolidated amended

   complaint go beyond the allegations in the original complaint and (2) the California Plaintiffs

   were not subject to the order granting Defendants’ first motion to dismiss.

           To have standing to pursue injunctive relief, Plaintiffs need to show an injury caused by

   Defendants’ conduct and which can be redressed by an injunction. See Ceban v. Capital Mgmt.

   Servs., L.P., No. 17-CV-4554 (ARR) (CLP), 2018 U.S. Dist. LEXIS 7389, at *7-8 (E.D.N.Y.

   Jan. 17, 2018) ; cf. Berni v. Barilla S.P.A., 964 F.3d 141, 147 (2d Cir. 2020) (framing a related

   question, at the class certification stage, as “are each of the [product] purchasers likely to be

   harmed by [defendant] in the imminent future absent injunctive relief?”).

           Standing exists where plaintiffs are denied their statutory right to truthful information.

   See, e.g., Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969-70 (9th Cir. 2018) (a consumer

   who has been misled by false advertising retains Article III standing to enjoin future false

   advertising if she can plausibly allege an inability “to rely on the product’s advertising or

   labeling in the future” when making shopping decisions; Ceban , 2018 U.S. Dist. LEXIS 7389, at

   *8-10 (explaining that “a plaintiff has standing to enforce a substantive legal right conferred by

   statute,” that the statute at issue in that case protects consumers from false, deceptive, or

   misleading practices by debt collectors, and that violations of that statute constitutes legally

   cognizable injury); Strubel v. Comenity Bank, 842 F.3d 181, 188 (2d Cir. 2016) (explaining the

   invasion of a statutory right to information can support standing, as long as the injury to the


   test results. See Declaration of Seth Safier (“Safier Decl.”) ¶¶ 2-4. Thus, it is disingenuous for Defendants
   to now claim they are not on notice of the claims when they were given the opportunity to obtain that
   information before this lawsuit was filed.


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   plaintiff is concrete and particularized injury, including a risk of real harm to the plaintiff from

   the statutory violation); see also Jackson-Mau v. Walgreen Co., No. 1: 18-cv-4868 (FB)(VMS),

   2019 U.S. Dist. LEXIS 189134, at *1-7 (E.D.N.Y. Oct. 31, 2019) (finding Davidson to be

   persuasive and holding that the plaintiff sufficiently alleged future injury where she alleged she

   would purchase the product again “if she could be sure that the bottle actually contains what it is

   supposed to contain”); Bautz v. ARS Nat'l Servs., 226 F. Supp. 3d 131, 141 (E.D.N.Y. 2016)

   (“[I]n cases where a plaintiff sues to enforce a substantive legal right conferred by statute, she

   has standing to pursue that claim without need to allege a ‘material risk of harm’ because the
   infringement of that right constitutes, in and of itself, a concrete injury.”).9

           Plaintiffs have included additional allegations in support of their request for injunctive

   relief, including that: Defendants currently market products which they claim contain actual

   Panax ginseng (Am. Compl. ¶ 88); that Defendants’ founder and chief executive said “Over the

   last few years what we’ve done is a lot of redesigns of our existing flavors, so in addition to new

   flavor extensions we’ve done extensive remakes of our classic” (id. ¶ 74); that Defendants will

   continue to introduce new beverages or variations of existing products (including reformulations

   of the Product) containing or purporting to contain ginseng (id. ¶ 90); that Defendants have

   damaged Plaintiffs’ ability to make informed choices and comparisons regarding the beverages

   that Plaintiffs want to buy and the beverages that Plaintiffs will buy in the future (id. ¶ 88); that

   Defendants’ practices will continue to injure Plaintiffs by depriving them of the ability to make

   informed purchasing decisions, depriving them of their statutory rights under state law to truthful

   information from Defendants in advertising and labeling, and distorting the market in which

   Plaintiffs participate both by confusing consumers (and thus skewing demand) and increasing

   (through competitive pressure) the risk of fraud in the ginseng market (id. ¶ 90); that Plaintiffs


   9
     See also Webb, 2018 U.S. Dist. LEXIS 71270, at *23 (noting ongoing harm from an inability to rely on
   beverage labels, finding standing to pursue injunctive relief); Bratton v. Hershey Co., No. 2:16-cv-4322-
   C-NKL, 2017 U.S. Dist. LEXIS 74508, at *24 (W.D. Mo. May 16, 2017) (finding Article III standing to
   pursue an injunction in a food labeling case where plaintiff alleged a likelihood of purchasing the product
   in the future if he could be assured he could rely on truthful label).



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   are afflicted with uncertainty, anxiety, and an unfair market every time they encounter the

   Product and similar products, and when they are shopping for products containing ginseng (id.

   ¶ 90); that if Defendants’ Product were reformulated to include a level of ginseng sufficient to

   provide energy, and Plaintiffs could trust Defendants’ labels, Plaintiffs would purchase the

   Product again in the future (id. ¶ 91); that if Plaintiffs could trust Defendants’ labels and that the

   prices of Defendants’ products were based on their actual ingredients, Plaintiffs would either

   purchase the Product again in the future or would purchase one of Defendants’ other products

   based on a fair and accurate comparison (id. ¶ 91).

          Plaintiffs have included additional factual allegations of continuing and future harm,

   which they believe are sufficient to establish standing for injunctive relief, under cases such as

   Davidson, Strubel, Jackson-Mau, Bautz, and Ceban. In these circumstances, the law of the case

   doctrine should not apply. See Batson v. Rim San Antonio Acquisition, LLC, No. 15-cv-07576

   (ALC), 2018 U.S. Dist. LEXIS 51576, at *16 (S.D.N.Y. Mar. 26, 2018) (noting that the law of

   the case doctrine “counsels against reconsideration” where the allegations are very similar but

   also that “the law of the case doctrine does not control if an amended complaint alleges

   materially different and more detailed claims than the initial complaint”) (internal quotation

   marks omitted). Accordingly, Defendants’ motion to dismiss Plaintiffs’ claims for injunctive

   relief should be denied.

          C.      Plaintiffs’ Claims Do Not Involve Reliance on Defendant’s Website
                  Representation That the Product Contains “Siberian Ginseng” Rather Than
                  True Ginseng.

          Defendants argue both (1) Plaintiffs failed to plead reliance on Defendants’ statement on

   their website that the Product contains “Siberian Ginseng” rather than actual ginseng and

   (2) Plaintiffs failed to provide Defendants with notice, under the CLRA, that Plaintiffs’

   allegations would include references to Defendants’ representation on its website that the

   Product contains “Siberian Ginseng.” In so arguing, Defendants either completely misunderstand

   or blatantly mischaracterize the nature of Plaintiffs’ claims and the significance of Defendants’



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   public admission. Defendants’ arguments rely on the false premise that Plaintiffs’ base their

   claims on the statement on Defendants’ website. That is incorrect. Plaintiffs’ claims are that

   Defendants’ on representations on its labels “with GINSENG” and “Ginseng for energy” are

   false and misleading. The statement on Defendant’s website simply confirms that those label

   statements are false and misleading. Accordingly, Defendants are right that Plaintiffs did not rely

   on the website statement. Plaintiffs never saw it. In fact, very few if any of the millions of

   consumers of the Product likely ever saw this disclosure. But that is entirely consistent with

   Plaintiffs’ claims.
           Defendants’ argument about pre-suit notice are based on the same flawed premises.

   Plaintiffs provided proper pre-suit notice of all of their claims at issue in this case, i.e. claims that

   the label statements are false and misleading, which Defendants do not dispute. Am Compl.

   ¶ 141; & Ex. A thereto. Neither California law, nor the law of any other relevant jurisdiction for

   that matter, requires Plaintiffs to identify in a pre-suit letter every piece of evidence that shows a

   representation is false or misleading. Accordingly, Plaintiffs were not required to reference the

   website statement in the pre-suit letters. Nor would any such rule make sense logically.

   Plaintiffs can never know at the time of sending pre-suit notice every piece of evidence that will

   ultimately support their claims. That is why the process of discovery exists. None of

   Defendants’ cited cases are to the contrary, as each deals only with the simple situation where a
   plaintiff failed to provide pre-suit notice of the claims at issue in accordance with California

   Civil Code § 1782. See, e.g., Outboard Marine Corp. v. Superior Court, 52 Cal. App. 3d 30, 39

   (1975) (notice was sent after the complaint was filed).10

   10
      See also, e.g., In re Apple & AT&T iPad Unlimited Data Plan Litig., 802 F. Supp. 2d 1070, 1077 (N.D.
   Cal. 2011) (notice was insufficient with regard to one defendant where plaintiff sent letter to one
   defendant but not the other); Laster v. T-Mobile United States, Inc., 407 F. Supp. 2d 1181, 1195 (S.D.
   Cal. 2005) (“Plaintiffs conceded that they failed to comply with the thirty day notice requirement set forth
   in § 1782”); Cattie v. Wal-Mart Stores, Inc., 504 F. Supp. 2d 939, 950 (S.D. Cal. 2007) (“Here, there is no
   dispute Plaintiff first claimed for damages, then gave notice, then amended her complaint, more than
   thirty days after giving notice.”); Von Grabe v. Sprint PCS, 312 F. Supp. 2d 1285, 1304 (S.D. Cal. 2003)
   (letter made no mention of § 1770 and was not properly mailed); Waller v. Hewlett-Packard Co., No.
   11cv0454-LAB (RBB), 2011 U.S. Dist. LEXIS 145276, at *19 (S.D. Cal. Dec. 14, 2011) (providing
   notice after filing a complaint for damages); Benson v. S. Cal. Auto Sales, Inc., 239 Cal. App. 4th 1198,


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          D.      There Is No Basis to Dismiss California Plaintiffs’ Breach of Warranty
                  Claims.

          Defendants argue that the California Plaintiffs failed to provide pre-suit notice of their

   claim for breach of express warranty. Defendants’ argument has no merit.

          First, the statute on which Defendants rely, Cal. Comm. Code § 2607(3)(A), applies to a

   plaintiff asserting breach against a “seller.” Here, Defendants are not the seller; they are the

   manufacturer. See Rosales v. FitFlop USA, LLC, 882 F. Supp. 2d 1168, 1178 (S.D. Cal. 2012)

   (denying motion to dismiss because plaintiff consumers were not required to provide pre-suit

   notice regarding an alleged breach of an express warranty under UCC § 2607, as they were

   bringing the action against defendant in its capacity as a shoe manufacturer, not as a seller);

   Aaronson v. Vital Pharm., Inc., No. 09-CV-1333 W (CAB), 2010 U.S. Dist. LEXIS 14160, at

   *15 (S.D. Cal. Feb. 17, 2010) (“In claims against a manufacturer of goods [for breach of

   warranty], however, California law does not require notice.”); Greenman v. Yuba Power Prods.,

   Inc., 59 Cal. 2d 57, 61, 27 Cal. Rptr. 697, 700 (Cal. 1963) (“The notice requirement of section

   1769 [replaced by section 2679], however, is not an appropriate one for the court to adopt in

   actions by injured consumers against manufacturers with whom they have not dealt “). Each of

   the cases upon which Defendants rely is consistent with Rosales and the plain wording of the

   statute because each involved an action by a buyer against manufacturer-sellers where there were

   direct dealings. See, e.g., Cardinal Health 301, Inc. v. Tyco Elecs. Corp., 169 Cal. App. 4th 116,

   137 (2008) (requiring notice against manufacturers where plaintiff had directly dealt with

   defendants and entered into a purchasing agreement with one of the entities); Standard Alliance

   Industries, Inc. v. Black Clawson Co., 587 F.2d 813, 816 (6th Cir. 1978) (express warranty claim

   where defendant manufacturer directly sold the product in question to plaintiff).

          Second, even if notice were required for a warranty claim by a consumer against a

   manufacturer (which is not a requirement under California law), as set forth in Plaintiffs’


   1213, 192 Cal. Rptr. 3d 67, 77 (2015) (denying motion for attorneys’ fees where complaint for damages
   was filed after defendant offered an appropriate correction). Not one of these cases are relevant.


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   complaint the California purchasers sent adequate notice to Defendants on October 26, 2018,

   November 14, 2018, and July 31, 2019 via certified mail (“October Notice”). CAC ¶¶ 141, Ex.

   A. That notice set forth the nature of the injury and requested relief, but Defendants did not

   timely respond. Id. ¶¶ 141, 158-162, Ex. A. Although the letter did not expressly mention the

   words warranty, the letter stated all the facts underlying a claim for breach of warranty, including

   that Defendants had described the product as containing “Ginseng for energy” but that it did not

   conform to that description. The question of whether the notice that was provided to Defendants

   is sufficient to put them on notice of Plaintiffs’ claims is a question of fact for the jury, not for a
   Rule 12(b)(6) motion. That is especially the case here, where Plaintiffs allege that they provided

   notice. Accordingly, Plaintiffs should be permitted to proceed with this claim.

           E.      Defendants’ Motion to Strike Is Procedurally Improper.

           Under Rule 12(g)(2), subject to certain inapplicable exceptions, “a party that makes a

   motion under [Rule 12] must not make another motion under [Rule 12] raising a defense or

   objection that was available to the party but omitted from its earlier motion.” Fed. R. Civ. P.

   12(g)(2). Defendants’ motion to strike violates Rule 12(g) and must be denied.

           The original complaint filed in this action included the same nationwide class allegations

   and claims that Defendants now seek to strike. They were thus aware of those allegations, but

   chose not to move to strike them under Rule 12(f). Accordingly, Defendants waived their

   objections to those allegations and cannot now move to strike them. See Fed. R. Civ. P. 12(g)(2);

   Williams & Cochrane, LLP v. Quechan Tribe of the Fort Yuma Indian Reservation, 329 F.R.D.

   247, 254-55 (S.D. Cal. 2018) (denying a party’s second motion filed under Rule 12, and

   explaining that motions to strike are subject to Rule 12(g)); Barfoot v. Dolgencorp, LLC, No. 15-

   24662-CIV, 2016 U.S. Dist. LEXIS 155267, at *1-2 (S.D. Fla. Feb. 5, 2016) (applying Rule

   12(g)(2) and denying a motion to strike filed after a motion to dismiss); Baroness Small Estates

   v. BJ’s Rests., Inc., No. SACV 11-468-JST (Ex), 2011 U.S. Dist. LEXIS 163595, at *1-5 (C.D.

   Cal. Sep. 15, 2011) (holding that Rule 12(g) prevented a party from pursuing a second Rule 12




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   motion and that the movant “waived its objections to those allegations by not including them in

   its first 12(f) motion”); LaCourte v. JP Morgan Chase & Co., 2013 U.S. Dist. LEXIS 129993, at

   *25 (S.D.N.Y. Sep. 4, 2013) (noting that one defendant would be barred from raising a defense

   in its second motions to dismiss because it had failed to raise the defense in response to the initial

   complaint, but using discretion to consider the argument in the interest of judicial economy

   because there was a new defendant that was entitled to raise the argument and the court could

   consider the arguments together).

          F.      Defendants’ Motion to Strike Should Be Denied.

          Defendants prematurely seek to strike Plaintiffs’ class allegations even though such

   motions are disfavored at this early stage and are routinely denied. See, e.g., Carrillo v. Wells

   Fargo Bank, N.A., No. 18-CV-3095 (SJF)(SIL), 2019 U.S. Dist. LEXIS 80634, at *24-26

   (E.D.N.Y. May 10, 2019) (denying a motion to strike class allegations as premature prior to

   discovery); Bowling v. Johnson & Johnson, No. 17-cv-3982 (AJN), 2018 U.S. Dist. LEXIS

   52142, at *15 (S.D.N.Y. Mar. 27, 2018) (same); Greene v. Gerber Prods. Co., 262 F. Supp. 3d

   38, 52-53 (E.D.N.Y. 2017) (same); Reynolds v. Lifewatch, Inc., 136 F. Supp. 3d 503, 511

   (S.D.N.Y. 2015) (same); Belfiore v. Procter & Gamble Co., 94 F. Supp. 3d 440, 447 (E.D.N.Y.

   2015) (same). It is telling that Defendants cited only a single relevant case directly addressing a

   motion to strike class allegations, Mayfield v. Asta Funding, Inc., 95 F. Supp. 3d 685, 696-97

   (S.D.N.Y. 2015), and the court in that case denied the motion. Defendants rely on general

   observations that courts have denied certification, after discovery, to proposed nationwide

   classes and that there are variations in the laws of the fifty states. Those general observations do

   not come close to satisfying the high standard for a motion to strike.

          In order to succeed on a motion to strike class allegations, Defendants must demonstrate

   from the face of the complaint that it would be impossible to certify the alleged class regardless

   of any facts that might be obtained during discovery; moreover, the issues raised by the motion

   should be distinct from those that would be decided at the class certification stage. Reynolds, 136




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   F. Supp. 3d at 511-12; Carrillo, 2019 U.S. Dist. LEXIS 80634, at *24-26; Bowling, 2018 U.S.

   Dist. LEXIS 52142, at *15; Greene, 262 F. Supp. 3d at 52-53. Defendants fail to meet this

   burden on both counts. Defendants’ argument regarding whether the class can be certified as a

   23(b)(3) is exactly the type of issue that is properly reserved for a motion for class certification,

   not a motion to strike, as evidenced by Defendants’ reliance on class certification rulings.

   Defendants summarily state that Plaintiffs will not be able to show that questions of law or fact

   common to class members “predominate over any questions affecting individual members”

   because of differences between the laws of the 50 states. Defs. Mem. at 21 (quoting Fed. R. Civ.
   P. 23(b)(3)). However, Defendants do not explain in detail how the differences will apply in this

   particular case, and the fact that the laws are of the 50 states are different does not establish that

   there is no possibility that common issues could predominate over individualized issues or that

   there are no possible circumstances in which Plaintiffs’ proposed class action could be

   conducted.11

           Defendants’ argument that there are material conflicts in the laws of the 50 states is

   unsuitable for a determination on the pleadings and they have failed to show an actual conflict of

   law. Establishing materiality requires more than citing to cases where other defendants or courts

   have identified certain differences in legal requirements across the fifty states. See Pecover v.

   Elec. Arts Inc., 2010 U.S. Dist. LEXIS 140632, *59 (N.D. Cal. Dec. 21, 2010) (holding that

   listing so-called “material differences,” without providing accompanying analysis, is unhelpful

   and insufficient to carry burden of showing a true conflict). Further, courts have found that there

   is significant commonality among, for example, consumer protection laws across the country.

   See In re Pharm. Indus. Average Wholesale Price Litig., 230 F.R.D. 61, 82-85 (D. Mass. 2005)

   (finding common legal and factual issues predominated over individual issues for purposes of a

   nationwide class, despite differences in state laws, which the court found immaterial or of less


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     Defendants provide no side by side comparison of the laws of the 50 states, making generic arguments
   showing the obvious truth that the laws of the 50 states are different. This is not a revelation, nor is it a
   sufficient basis to strike Plaintiffs’ nationwide class allegations.


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   concern in the context of that case); Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022-23 (9th Cir.

   1998) (holding that “the idiosyncratic differences between state consumer protection laws [were]

   not sufficiently substantive to predominate over the shared claims”). Where, as in this case, there

   are multiple named plaintiffs from different states, subclasses could be proposed at the class

   certification stage on certain claims or issues to manage variations in state laws and/or to

   facilitate a nationwide class in other respects. Defendants present no persuasive reason why that

   analysis cannot take place at certification.

          A finding of predominance under Rule 23(b)(3) does not require exclusively common
   questions, it only requires only that common questions outweigh (or predominate over)

   individual questions. See, e.g., Mazza v. Am. Honda Motor Co., 666 F.3d 581, 588 (9th Cir.

   2012) (holding that “Rule 23(b)(3)’s predominance requirement” balances “common questions

   against individual ones.”). Therefore, the existence of some differences between the laws of the

   50 states does not defeat predominance if the common questions still outweigh the individual

   ones. Indeed, courts in the Second Circuit have recognized that “[w]hen a class action raises

   common issues of conduct that would establish liability under a number of states’ laws, it is

   possible for those common issues to predominate and for class certification to be an appropriate

   mechanism for handling the dispute." Reynolds, 136 F. Supp. 3d at 518 (internal quotation marks

   omitted) (quoting Steinberg v. Nationwide Mut. Ins. Co., 224 F.R.D. 67, 79 (E.D.N.Y.

   2004)); see also In re Buspirone Patent Litig., 185 F. Supp. 2d 363, 377 (S.D.N.Y. 2002)

   (quoting same). “The spectre of having to apply different substantive law does not warrant

   refusing to certify a class on . . . common-law claims.” Reynolds, 136 F. Supp. 3d at 518

   (quoting In re Lilco Sec. Litigation, 111 F.R.D. 663, 670 (E.D.N.Y. 1986)).

          Defendants’ reliance on class certification precedent further underscores that their

   arguments are more appropriately reserved for class certification and not resolved on a motion to

   strike. See Defs.’ Mem. at 25 (citing Grand Theft Auto, 251 F.R.D. at 147 (order on class

   certification motion), Darisse v. Nest Labs, Inc., 5:14-cv-01363-BLF, 2016 U.S. Dist. LEXIS

   107938, at *41 (N.D. Cal. Aug. 8, 2016) (order on class certification motion).


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          Finally, and importantly, Defendants’ entire argument is premised on impossibility of

   Plaintiffs’ certification of a class under 23(b)(3) (one of three types of classes under Rule 23).

   Defendants do not dispute or even address 23(b)(2) classes.

          G.      If the Court Determines that Plaintiffs Are Required to Plead the Results of
                  the 12-Sample Methodology, Plaintiffs’ Request Leave to Amend their
                  Complaint.

          “[T]he court should freely give leave [to amend] when justice so requires.” Loreley Fin.

   (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 190 (2d Cir. 2015) (quoting Fed. R.

   Civ. P. 15(a)(2)). “The ‘permissive standard’ of Rule 15 ‘is consistent with [the 2nd Circuit’s]
   strong preference for resolving disputes on the merits.’” Id. (quoting Williams v. Citigroup Inc.,

   659 F.3d 208, 212-13 (2d Cir. 2011) (per curiam)), see also Parker v. Wal-Mart Stores, Inc., 367

   F. Supp. 3d 979, 984 (E.D. Mo. 2019) (granting leave to amend where plaintiff had not alleged

   12-sample testing in a supplement case); Dougherty v. Source Naturals, Inc., 148 F. Supp. 3d

   831, 837 (E.D. Mo. 2015) (same). If this Court is inclined to grant Defendants’ motion with

   respect to allegations of compliance with the 12-sample testing method, Plaintiffs respectfully

   request leave to amend their pleadings to include such allegations. Plaintiffs have already

   conducted testing as alleged and can comply with any requirements the Court finds are necessary

   to maintain this action. It is well-established that leave to amend should be granted unless the

   court determines that the allegation of other facts consistent with the challenged pleading could

   not possibly cure the deficiency. See, e.g., ECF No. 31 (Order on Motion to Dismiss) (Plaintiffs’

   request for broad leave to amend was deficient to the extent that it failed “to provide any

   proposed theories or additional facts that would raise its claims from implausible to plausible”).

   The current pleading before the Court is Plaintiffs’ Consolidated Amended Complaint.

          Therefore, if this Court were to find any of the allegations in the Amended Complaint are

   insufficient to state a claim, Plaintiffs request leave to amend.




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   IV.    CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully requests that this Court deny

   Defendants’ Motion to Dismiss and to Strike, or, in the alternative, grant Plaintiffs leave to

   amend the Complaint.


    DATED: September 21, 2020                      GUTRIDE SAFIER LLP

                                                   By: /s/ Stephen M. Raab        /
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                                    CERTIFICATE OF SERVICE


          I hereby certify that on September 21, 2020, I served a true and correct copy of the

   foregoing document, Plaintiffs’ Opposition to Defendants’ Motion to Dismiss the Amended

   Complaint and to Strike Nationwide Class Claims, and a cover letter to Defendants’ counsel of

   record below, by enclosing a hard copy in a sealed envelope with postage paid for first-class

   mail, addressed to Defendants’ counsel below, and depositing it in a receptacle in the custody of

   the United States Postal Service. I also filed the cover letter with the Eastern District of New

   York by using the CM/ECF system.



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          I declare, under penalty of perjury that the foregoing is true and correct.

                                                         By: /s/ Stephen M. Raab        /

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